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       EXHIBIT 12
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                                                                                                                                             sign up



       Sign up                                                             •   Jeff Schoep                                                     V
                                                                               9Aug2017
Forgot your password?
                                                                   Below you will find an article from the jewish adl hate site whining
                                                                   aboLrt the Unite the Right rally coming up this weekend The NSM will
                                                                   be there along with our allies in the Nationalist Front Organizations.
                                                                   Come stand with us in defense of American Veterans. American
                                                                   Historical monuments, and freedom of speech. Do not "just show up",
                                                                   you will not be able to get in, if you are attending contact NSM Chief
                                                                   of staff NOW. If you are not attending, are not sure. or maybe or
                                                                   might, DO NOT WASTE OUR TIME. Do not ask questions about meet up

                         .Dattonal §or1al1st                       l ocations if you are not attending.


                             itlourmrnt                            UNITE THE RIGHT· CHARLOTTESVILLE, VA · Announcement


                         Join VK now to stay n touch With          On Saturday August 12th. the National Socialist Movement will join Our
                            Jeff and millions of others.           Allies the Traditionalist Workers Party. League of the South and other
                        or log in,   f you have a VK account.      Nationalist Front Members in Charlottesville, VA. This Rally is to
                                                                   defend Free Speech and our Heritage at the Lee Monument. This will
                                                                   take place at Lee Park, 201 2nd. street NE #299 Charlottesville, VA
                        Gifts 3                                    22902. This is a call to all NSM Members to be in Charlottesville and
                                                                   show support.


                                                                   NSM Commander Jeff Schoep will be at the event !
                                                   -~
                                                   ~., l   l   '

                                                                   All those interested in attending, contact Butch at


                                                                   nsmch1efof staff@gmail.com or (404) 218-9493
                        Noteworthy pages 27

                                  NSM USA Public Action            Here is the link to the adl whining about how this will be the largest
                                  America·s Premier White          gathering of white nationalists in 15 years in the USA. So those of
                                  Civil Rights Organization        you sitting home missing this event, you all know w e been promoting it
                                                                   for awhile now, plenty of time to take off work or make arrangements
                                  NSM National Socialist           to catch one of our carpools. See you there!
                                  Movement
                                  Political Party
                                                                   https://www.adl.org/blog/unrte-the-right-rally-could-..
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                                  HERITAGE & HATE
                                  WHITE POWER1!
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                         Q   Search

                                                                  Show next comment
Password


                                                                               Jeff Schoep                                                                     V
                                                                                ,-ug 2017
           Login

                                                                  We will be there. Mobilize, and organize comrades, get out there and get active, hope to
        Si!,)up
                                                                  see you there.

 Forgot your password?                                            http://www.c-vil!e.com/ bad-business-crty-mobilizes-al..



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                         Join VK now to stay in touch with
                             Jeff and mi lions of others.
                         Or log in, if you have a VK account.




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                         Gifts 3




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                                                                       Bad for business: City mobilizes for alt-right rally· C-VILLE Weekly
                                                                       c- le.com




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                              •    NSM USA Pubhc Action
                                   ~    nca·s Prem·..- Whit~
                                                                           J ordan Jereb
                                                                           These pinkos are lucky I am on leg monitor. None of them Florida are brave
                                   Civ, Rights Organization                enough to attack, And in Florida w e have laws that grant us the right to legally kill
                                                                           people to prevent great bodily injury, So long as we were attacked while doing
                                   NSM National Socialist                  something lawful.
                                   Movement
                                                                           6Aug 20 7
                                   Po41Jcal Party
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       Sign up

Forgot your password"                                                      J eff Schoep                                                               V
                                                                           29 May2018




                                                               NSM Party members. supporters, allies. and fellow patriots:


                                                               We now are able to accept crediVdebit card donations for NSM"s Legal Defense Fund,
                                                               and also the NSM Monthly membership donations.


                                                               We do not want to keep reminding everyone about this, but we are still fighting a lawsuit,
                                                               and have been upgrading equipment such as our new pa system, and countless other
                         f}af1011al §orrnl1st                  costs, so please do your part and assist us, its super convenient now, please follow the
                              .:ftlOIJt'lllt'Jlt               links below and do your part so we can continue to fight the lawsuit against us, and
                                                               continue to fund our operations and stay on the frontli nes of this fight!
                         Join VIC now to stay in touch with
                            Jeff and millions of others        Thank you in advance! For Blood and Soil:

                        Or log in. if you have a VIC account
                                                               Monthly membership donations:


                                                               https://freestartr.com/project/national-socialist-mov..
                        Gifts 3

                                                               NSM Legal defense fund:


                                                               https://freestartr.com/ projecttnational-socialist-mov..




                        Noteworthy pages 27

                                                               Commander Jeff Schoep
                                  NSM USA Public Action
                                                               ' If you are not part of the solution, you are part of the problem.'
                                  Americas Prem er White
                                                               National Socialist Movement www.nsm88.org




                        w
                                  CiY' Rights Organization

                                  NSM National Socialist
                                  Movement
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